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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                         CASE NO. 2:11-CR-00296 WBS
11
                                  Plaintiff,           STIPULATION AND [PROPOSED] ORDER
12                                                     RESETTING SENTENCING DATES
                           v.
13
     MOCTEZUMA TOVAR, ET AL.,
14
                                 Defendants.
15

16

17          Defendants Moctezuma Tovar, Sandra Hermosillo, Jun Michael Dirain, and Manuel Herrera (the

18 “resolved defendants”) have pleaded guilty in this matter, all with cooperation provisions under Section

19 5K1.1 of the U.S. Sentencing Guidelines. These four defendants were set for sentencing on August 21,

20 2017. However, a retrial for the remaining defendants, Jaime Mayorga and Ruben Rodriguez, is now set

21 to begin on September 11, 2017.

22          As a result, the government and the resolved defendants, by and through their respective counsel

23 of record, stipulate and agree that sentencing of the resolved defendants should be continued to

24 November 13, 2017. The Probation Officer has been consulted and is available on the stipulated date.

25 The sentencing deadlines would then be as follows:

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      STIPULATION CONTINUING SENTENCING                 1
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             Case 2:11-cr-00296-WBS Document 571 Filed 07/13/17 Page 2 of 3

 1 Judgment and Sentencing Date:
                                                                                        November 13, 2017
 2
     Reply or Statement of Non-Opposition:
 3                                                                                       November 6, 2017
 4
   Motion for Correction of the Presentence Report shall be filed with the Court
 5 and served on the Probation Officer and opposing counsel no later than:                 October 23, 2017

 6 The Presentence Report shall be filed with the Court and disclosed to counsel
   no later than:                                                                          October 16, 2017
 7

 8 Counsel’s written objections to the Presentence Report shall be delivered to the
   Probation Officer and opposing counsel no later than:                                    October 9, 2017
 9
   The proposed Presentence Report shall be disclosed to counsel no later than:             October 2, 2017
10

11

12 Dated: July 13, 2017                                    PHILLIP A. TALBERT
                                                           United States Attorney
13

14                                                  By: s/ Brian A. Fogerty
                                                        BRIAN A. FOGERTY
15                                                      Assistant United States Attorney
16

17 Dated: July 13, 2017                                    s/ Brian A. Fogerty for Thomas A. Johnson
                                                           THOMAS A. JOHNSON
18                                                         Counsel for Defendant
                                                           MOCTEZUMA TOVAR
19                                                         [Authorized by email]
20

21 Dated: July 13, 2017                                    s/ Brian A. Fogerty for Timothy Zindel
                                                           TIMOTHY ZINDEL
22                                                         Counsel for Defendant
                                                           JUN MICHAEL DIRAIN
23                                                         [Authorized by email]
24

25 Dated: July 13, 2017                                    s/ Brian A. Fogerty for John Manning
26
27

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      STIPULATION CONTINUING SENTENCING                2
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             Case 2:11-cr-00296-WBS Document 571 Filed 07/13/17 Page 3 of 3

 1                                                JOHN MANNING
                                                  Counsel for Defendant
 2                                                MANUEL HERRERA
                                                  [Authorized by email]
 3

 4
     Dated: July 13, 2017                         s/ Brian A. Fogerty for Erin Radekin
 5                                                ERIN RADEKIN
                                                  Counsel for Defendant
 6                                                SANDRA HERMOSILLO
                                                  [Authorized by email]
 7

 8                                         ORDER
 9          It is so ORDERED.
10
     Dated: July 13, 2017
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      STIPULATION CONTINUING SENTENCING       3
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